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                                              Oral Argument Not Yet Scheduled

                                   No. 22-7063


        IN THE UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT


       AMERICAN SOCIETY FOR TESTING AND MATERIALS, ET AL.,

                                                      Plaintiffs-Appellants,
                                        v.

                        PUBLIC.RESOURCE.ORG, INC.,

                                                      Defendant-Appellee.


   On Appeal from the United States District Court for the District of Columbia
   Case Nos. 1:13-cv-1215-TSC and 1:14-cv-0857-TSC (Hon. Tanya S. Chutkan)


NOTICE OF INTENT TO FILE AMICI CURIAE BRIEF ON BEHALF OF
    AMERICAN NATIONAL STANDARDS INSTITUTE AND SIX
  STANDARDS ORGANIZATIONS IN SUPPORT OF APPELLANTS


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                   CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amici

curiae state that no party to this brief is a publicly-held corporation, issues stock, or

has a parent company except that ULSE Incorporated is a Delaware non-stock

corporation with Underwriters Laboratories Inc. as its sole corporate member.




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              NOTICE OF INTENT AND REPRESENTATION OF
               CONSENT TO FILE BRIEF OF AMICI CURIAE

       Pursuant to D.C. Circuit Rule 29 and the guidance set forth in Section IX.A.4

of the Court’s Handbook of Practice and Internal Procedure, amici Standards

Organizations hereby give notice that they intend to file a brief as amici curiae in

support of appellants in this matter. A full listing of amici is included in the

Appendix to this notice. All parties have consented to the filing of this brief.

Dated: October 26, 2022

                                        Respectfully submitted,

                                        CARTER LEDYARD & MILBURN LLP

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                                   APPENDIX

                                  List of Amici

American National Standards Institute, Incorporated

American Society of Civil Engineers

International Code Council

The Institute of Electrical and Electronics Engineers, Incorporated

National Electrical Manufacturers Association

North American Energy Standards Board

ULSE Incorporated




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                            CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the D.C. Circuit by using the

appellate CM/ECF system on October 26, 2022.

       I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the appellate CM/ECF system.

       Executed this 26th day of October 2022.

                                                /s/ Gary D. Sesser
                                                Gary D. Sesser

                                                Counsel for Amici Curiae




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